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NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)
OR OF PARTY APPEARING IN PRO PER

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ATTORNEY(S) FOR: Plaintiff

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

TRAVELERS CASUALTY INSURANCE CASE NUMBER:
COMPANY OF AMERICA

Plaintiff(s),

Vv.
LMID, INC., a California Limited Liability
CERTIFICATION AND NOTICE

Company, et al OF INTERESTED PARTIES
Defendant(s) (Local Rule 7.1-1)

TO: THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for Plaintiff

or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.

(List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

PARTY CONNECTION / INTEREST
TRAVELERS CASUALTY INSURANCE COMPANY OF Pursuant to Rule 7.1, Fed. R. Civ. Proc and Civil L.R. 3-16,
AMERICA, a Connecticut Corporation the undersigned, counsel of record for Plaintiffs, certify that
the listed persons, associations of persons, firms,
LMID, INC., a California Limited Liability Company partnerships, corporations (including parent corporations)

or other entities may (i) have a financial interest in the
1536 BLUE JAY WAY, LLC, a California limited liability | subject matter in controversy or in a party to the proceeding,

company or (ii) have a non-financial interest in that subject matter or
in a party that could be substantially affected by the outcome
MICHAEL HERMAN, an individual and of this proceeding: Plaintiffs are wholly-owned insurance
subsidiaries of The Travelers Companies, Inc. The Travelers
DOES 1 through 10 inclusive, Companies, Inc. is the only publicly held company in the
corporate family.
02/06/2024
Date Signature

Attorney of record for (or name of party appearing in pro per):

Plaintiff, Travelers Casualty Insurance Company of America

CV-30 (05/13) NOTICE OF INTERESTED PARTIES
